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                         UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION
                              _______________________

MARY COMELLA,

        Plaintiff,                               Hon.

v.
                                                 Case No. 1:18-cv-1407
THE GRANGER GROUP,
GARY GRANGER and RANDY
KLINE, Individually and
Personally,

        Defendants.

Katherine Smith Kennedy (P54881)
Pinsky, Smith, Fayette & Kennedy, LLP
Attorneys for Plaintiff
1515 McKay Tower
146 Monroe Center Street NW
Grand Rapids, MI 49503
(616) 451-8496




                     COMPLAINT AND JURY DEMAND



                                    COMPLAINT
        NOW COMES PLAINTIFF, Mary Comella, by and through her attorneys,

Pinsky, Smith Fayette & Kennedy, LLP and for her Complaint against the above-

named Defendants hereby states as follows:
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                            A.     Nature of Proceedings

      1.     Plaintiff was an employee of The Granger Group. Defendant Gary

Granger was the Chief Executive Officer and partial owner of the company and

Defendant Randy Kline was the Controller of the company and Plaintiff’s direct

supervisor for most of the relevant time.

      2.     Plaintiff brings this action to recover unpaid wages, overtime

compensation, liquidated damages, and attorney’s fees and costs under §16(b) of the

Fair Labor Standards Act of 1938, as amended 29 U.S.C. §216(b) referred to

hereinafter as “the Act” or “FLSA.”



                   B.     General and Jurisdictional Allegations

      3.     Plaintiff is a resident of the Western District of Michigan.

      4.     Defendant Granger Group is a company incorporated in the State of

Michigan that does business in the Western District of Michigan.

      5.     Defendants Gary Granger and Randy Kline are residents of the

Western District of Michigan and as decision-makers, were at all relevant times

“employers” within the meaning of 29 USC §203 (d) and (e).

       6.    Jurisdiction of the Federal cause of action is based on §16 (b) of the Act

(29 USC §216(b)) and 28 USC §1337.

      7.     Venue is proper within this judicial district under 28 USC §1391(b)

and §1392(a).


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      8.       Plaintiff was an employee of all Defendants from October 2016 through

March 2018.

         9.    The Defendants employing Plaintiff Comella are subject to the FLSA

as The Granger Group did business in interstate commerce with annual gross

revenue exceeding $500,000.



                              C.    Common Allegations

      10.      Plaintiff worked for The Granger Group in Wyoming, Michigan. Her

duties were keeping the books, low-level accounting and clerical work. She did not

manage or supervise anyone. Her primary duties were reconciliating expense

reports and credit cards, putting together construction draws, worked on financial

statements that were subject to approval, and pulled information for upper

management for audits and the like. Though Ms. Comella’s title was “Senior

Accounting Manager,” and she had the experience, education and skills to perform

higher level accounting work, she did not perform such duties at The Granger

Group.

         11.   Plaintiff worked many hours over 40 in a work week yet was not

compensated for those hours and not at the over-time rate of one and one-half times

her hourly rate.

      12.      Defendants did not keep accurate records of the hours Plaintiff worked

or traveled on behalf of the company in violation of the FLSA. Plaintiff did keep


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track of all of her hours, including overtime hours, and estimates that she worked

over 320 overtime hours in which she was not compensated.



                             COUNT I. FLSA VIOLATIONS

      13.    During Plaintiff’s employment, Defendants employed Plaintiff in

commerce for many work weeks longer than 40 hours. Defendants have failed and

refused to compensate Plaintiff for such work and failed to pay her at the required

rate of one and one-half times the regular rate. These acts are contrary to the

provisions of §7(a) of the Act (29 USC §207 (a).

      21.    Plaintiff estimates that the sum of back wages due is over $12,000.

      22.    Defendants’ failure to pay Plaintiff’s wages and overtime compensation

was willful within the meaning of §55(a) of the Act (29 U.S.C. §255(a)) and not in

good faith nor made on a reasonable basis within the meaning of §11 of the Portal to

Portal Pay Act (29 USC §260). Plaintiff is therefore entitled to liquidated (double)

damages under §16(b) of the Act (29 USC §216(b)) as well as a third-year back in

damages.



                                       RELIEF

      WHEREFORE, Plaintiff requests:

      a.     Judgment against Defendants in the amount due for overtime wages,

lost wages, other economic and non-economic loss and liquidated damages;


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         b.    Award to Plaintiff for costs and reasonable attorney’s fees;

         c.    Any and all exemplary and punitive damages available.

         WHEREFORE, Plaintiff requests judgment in her favor in whatever amount

she is found to be entitled and an award of such other relief as the Court deems

appropriate, including interest from the date of the Complaint, attorney’s fees, and

costs.


                                   PINSKY, SMITH, FAYETTE & KENNEDY, LLP
                                   Attorneys for Plaintiff


Dated: December 19, 2018          By /s/ Katherine Smith Kennedy
                                         Katherine Smith Kennedy (P-54881)
                                         146 Monroe Center St NW, Suite 1515
                                         Grand Rapids, MI 49503
                                         (616) 451-8496




                                 JURY DEMAND

         Plaintiff, Mary Comella, by and through her attorneys, Pinsky, Smith,

Fayette & Kennedy, LLP, hereby requests trial by jury.


                                   PINSKY, SMITH, FAYETTE & KENNEDY, LLP
                                   Attorneys for Plaintiff


Dated: December 19, 2018          By /s/ Katherine Smith Kennedy
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